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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )
                                         )
                                         )
                   Plaintiff,            )           8:09CR287
                                         )
     vs.                                 )
                                         )      JUDGMENT OF ACQUITTAL
Yer Yang,                                )
                                         )
                   Defendant.            )



     The defendant having entered a plea of not guilty as to

Count I of the indictment, and the jury having found the defendant not

guilty,

     IT IS ORDERED that judgment of acquittal is entered as to Count I

of the indictment and the defendant is discharged as to this count.

     DATED this 1st day of July, 2010.

                                       BY THE COURT:


                                       s/ Lyle E. Strom, Senior Judge
                                       United States District Court
